UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF WISCONSIN

In the Matter of the Seizure of

(Address or brief description of property or premises to be seized)

UP TO $106,000 IN FUNDS ON DEPOSIT IN BANK Case Number: q -_ q 5 | M (v3)

OF AMERICA ACCOUNT ENDING IN 5359, HELD
IN THE NAME OF A BUSINESS HAVING THE
INITIALS S8.G. LLC

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, John Milotzky, being duly sworn depose and say:

I am a Detective and Task Force Agent assigned to the United States Secret Service Milwaukee
Resident Office Financial Crimes Task Force, and have reason to believe that in the Eastern
District of Wisconsin there is now certain property, namely, up to $106,000 in funds on deposit in
Bank of America account ending in 5359, held in the name of a business having the initials $.G.
LLC, that is civilly forfeitable under 18 U.S.C. §§ 981(a)(1)(C) and 984, including cross-
references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and criminally forfeitable under 18 U.S.C.
§ 981(a)(1)(C) in conjunction with 28 U.S.C. § 2461(c), as property that consists of, or is traceable
to, proceeds of wire fraud committed in violation of 18 U.S.C. § 1343, and which property is
therefore also subject to seizure for purposes of civil forfeiture under 18 U.S.C. § 981(b)(2) and
for purposes of criminal forfeiture under 18 U.S.C. § 982(b)(1) and 21 U.S.C. § 853(f).

The application is based on these facts:

¥ Continued on the attached sheet.

QODelayed notice of days (give exact ending date if more than 30 days: is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

   

Sworn to before me, and subscribed in my presence Milotzky, USSS

WN ronhr ye, o- Of “) at Milwaukee, Wisconsin

 

 

 

 

Datg and time issued QI» 3d em . City and State
Nancy Joseph, U.S. Magistrate Judge COOK
Name & Title of Judicial Officer nakure of wai ce

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AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT
I, John Milotzky, having been duly sworn on oath, state as follows:
Affiant’s Background

1. I am a Detective with the City of Wauwatosa Police Department and have been
employed with that department since 2001. I am currently assigned to the United States Secret
Service Milwaukee Resident Office Financial Crimes Task Force (“MFCTF’”). I was federally
deputized on June 24, 2015. My duties as a Detective and Task Force Agent with the Secret
Service include investigating financial crimes such as identity fraud, check fraud, credit card
fraud, bank fraud, wire fraud, currency-counterfeiting offenses, and money laundering. During
my employment with the Wauwatosa Police Department and the MFCTF, I have conducted
several investigations that have resulted in seizures of criminally derived property, including
monetary instruments and United States currency.

2. As a Detective and Task Force Agent, I have conducted investigations into wire
fraud, money laundering, and other complex financial crimes. In the course of those
investigations, I have used various investigative techniques, including conducting undercover
operations, reviewing physical and electronic evidence, obtaining and reviewing financial
records, and working with cooperating sources of information. In the course of those
investigations, I have also become familiar with techniques that criminals use to conceal the
nature, source, location, ownership, and control of proceeds of crime and to avoid detection by
law enforcement of their underlying acts and money laundering activities.

3. Because I am submitting this affidavit for the limited purpose of establishing
probable cause for the requested seizure warrant, I have not included in this affidavit every detail
I know about this investigation. Rather, I have included only the information necessary to
establish probable cause for the requested seizure warrant.

4, The facts set forth in this affidavit are based on my personal knowledge, including
what I have learned through my training and experience as a law enforcement officer, my review
of documents and other records obtained in the course of this investigation, and information I
have obtained in the course of this investigation from witnesses having personal knowledge of
the events and circumstances described herein and other law enforcement officers, all of whom I
believe to be truthful and reliable.

Property Sought to be Seized
5. I submit this affidavit in support of an application for a warrant to seize up to
$106,000 in funds on deposit in Bank of America account ending in 5359 (“BOA 5359”), held in

the name of a business having the initials S.G. LLC.

6. Based on the facts and circumstances set forth below, I submit that there exists
probable cause to believe that up to $106,000 on deposit in BOA 5359 are:

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a. Funds traceable to, and are therefore proceeds of, a wire fraud offense or
offenses committed in violation of 18 U.S.C. § 1343;

b. Subject to civil forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984,
including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1);

c. Subject to criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and
28 U.S.C. § 2461(c); and

d. Subject to seizure via a civil seizure warrant under 18 U.S.C. § 981(b)(2)
and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) and
21 U.S.C. § 853(f).

Facts Supporting Finding of Probable Cause for Issuance of Seizure Warrant
Common attributes Business Email Compromise (BEC) fraud schemes

7. One common financial fraud scheme is known as a Business Email Compromise
(“BEC”) fraud scheme. In a BEC scheme, a fraudster gains unauthorized access to, or spoofs,
the email address belonging to a customer or vendor of a business. The fraudster then sends an
electronic communication—on the false pretense that the fraudster is the business’s legitimate
vendor or customer—instructing the business or one or more of its vendors, customers, or
financial institutions to wire money to a bank account controlled by the fraudster.

8. In many cases, the person or persons who launder the proceeds of a BEC fraud
scheme first open a bank account or accounts to receive those proceeds. Such a launderer often
opens the bank account or accounts in the name of one or more fictitious businesses in order to
conceal the fraudulent nature of the bank account from the bank and the victims who are duped
into wiring money there.

9. Perpetrators of BEC fraud schemes sometimes also recruit witting or unwitting
persons within the United States to open bank accounts that the perpetrators use to receive
proceeds of the scam.

10. Not all such third-party account holders who receive BEC proceeds are ignorant,
at least initially, as to the nature of the BEC fraud proceeds being deposited into their accounts.
Some persons who open and use accounts to receive BEC fraud proceeds are witting money
mules who understand the criminal nature of the funds they are receiving in the account from the
outset. Other such account holders are put on notice of the facts that they are receiving, and
helping launder, fraud proceeds during the course of receiving such fraud proceeds into their
account. Thus, some persons who launder BEC fraud proceeds might begin as unwitting money
mules but then progress to becoming witting money launderers.

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Ongoing investigation into BEC fraud scheme

11. I am currently conducting an investigation that is focusing on a BEC fraud
scheme in which an unknown suspect or suspects caused $106,000 to be wire transferred from a
bank account located within the Eastern District of Wisconsin into BOA 5359, an account held in
the name of a business having the initials $.G. LLC.

12. Bank of America records show that BOA 5359 was opened in the name of S.G.
LLC and an individual having the initials P.S. S.G. LLC and P.S. are believed to be additional
victims in the BEC scam.

13. The funds sought to be seized — which consist of up to $106,000 on deposit in
BOA 5359 — are funds that were directly wire transferred into BOA 5359 from a victim business,
having the initials GEH, based on misrepresentations, impersonations, and the use of interstate
wires in connection with the BEC scam.

14. During May and June 2019, unknown suspects perpetrated this BEC fraud scheme
on victim GEH, which is a business located in the Eastern District of Wisconsin. The fraudsters
caused GEH to wire $106,000 into BOA 5359.

15. Specifically, the fraudster or fraudsters impersonated an individual having the
initials T.H. — an account manager of a legitimate business having the initials A.M., which is a
vendor of medical equipment — by using a spoofed email address: txx.hxxxxxxx@axxxx-
mxxxxxx.com. The fraudster or fraudsters also impersonated Dr. F.D. — an actual medical
service provider — and claimed to seek financing to purchase medical equipment through A.M.

16. The fraudster impersonating Dr. F.D. completed a financing application to
purchase medical equipment from A.M. in the amount of $106,000. A fake A.M. invoice was
sent to GEH to support the financing request. The invoice listed T.H. as A.M.’s account
manager.

17. The fraudster then sent emails using the spoofed email address
txx.hxxxxxxx@axXxX-MxXXXXxx.com to an individual having the initials A.D., who works in
Transaction Support for GEH. The fraudster provided ACH/Wire Payment instructions and
requested that payment to A.M. for the medical equipment be wire transferred to BOA 5359.

18. On June 26, 2019, at the direction of the fraudster, GEH, from the Eastern District
of Wisconsin, caused a wire transfer of $106,000 to be made from its Deutsche Bank account to
BOA 5359.

19, In July 2019, Office Manager C.O., who works for the actual Dr. F.D., received a
copy of the GEH invoice. C.O. contacted GEH and stated that their office never requested the
financing or medical equipment.

20. | GEH then contacted the actual T.H., account manager for A.M., the vendor of
medical equipment. T.H. stated that his name and company have been used in similar fraud
schemes.

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21. Upon identifying the fraud, GEH contacted both Deutsche Bank and Bank of
America. Deutsche Bank confirmed that the funds has been released to Bank of America. Bank
of America subsequently put a hold on the funds.

22. I obtained records for BOA 5359 which show that on June 26, 2019, BOA 5359
received a wire transfer of $106,000 from GEH’s Deutsche Bank account. The records also
show that BOA 5359 has been open for several years for legitimate business purposes.

23. On November 6, 2019, I contacted Bank of America Investigations Group. They
confirmed that the $106,000 was still being held but that the funds would not be released without
a seizure warrant.

Applicable Asset Forfeiture Provisions

24. Under 18 U.S.C. § 984, a court may order the forfeiture of funds in a bank
account into which monies subject to forfeiture have been deposited, without the need to trace
the funds currently in the account to the specific deposits that are subject to forfeiture, up to the
amount of the funds subject to forfeiture that have been deposited into the account within the
past one-year period.

25. Section 984 (a) provides in part:

(1) In any forfeiture action in rem in which the subject property is cash
[or] funds deposited in an account in a financial institution

(A) it shall not be necessary for the Government to identify the
specific property involved in the offense that is the basis for the
forfeiture; and

(B) it shall not be a defense that the property involved in such an
offense has been removed and replaced by identical property.

(2) Except as provided in subsection (c), any identical property found in
the same place or account as the property involved in the offense that is
the basis for the forfeiture shall be subject to forfeiture under this section.

26. 18 U.S.C. § 984(b) provides: “No action pursuant to this section to forfeit
property not traceable directly to the offense that is the basis for the forfeiture may be
commenced more than 1 year from the date of the offense.”

27. Thus, under Section 984, a court may order the civil forfeiture of monies found in
a bank account into which deposits of criminal proceeds subject to forfeiture had been made, up
to the amount of the forfeitable deposits that have been made into the account within the prior
one-year period, without the need for tracing the funds to be forfeited to any of the specific
forfeitable deposits.

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28. I submit that a restraining order under 21 U.S.C. § 853(e) may not be sufficient to
assure the availability of the funds for forfeiture because I have been advised of cases in which,
even after a restraining order or similar process has been issued to a financial institution, the
funds sought to be restrained were not effectively restrained by the financial institution. In my
judgment, a seizure warrant would be the most effective way to assure the availability of the
monies sought to be seized for forfeiture by the accompanying seizure warrant.

Conclusion

29. Based on the facts and circumstances set forth in this affidavit, I submit that there
exists probable cause to believe that up to $106,000 in funds on deposit in BOA 5359 are:

a. Funds traceable to, and are therefore proceeds of, a wire fraud offense or
offenses, committed in violation of 18 U.S.C. § 1343;

b. Subject to civil forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984,
including cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1);

C. Subject to criminal forfeiture under 18 U.S.C. § 981(a)(1)(C) and
28 U.S.C. § 2461(c); and

d. Subject to seizure via a civil seizure warrant under 18 U.S.C. § 981(b)(2)
and via a criminal seizure warrant under 18 U.S.C. § 982(b)(1) and

21 U.S.C. § 853(f).

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